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15                     UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     JENNY LISETTE FLORES; et al.,           )   Case No. CV 85-4544
17
                                             )
18           Plaintiffs,                     )   DEFENDANTS’ APPLICATION FOR
                                             )   LEAVE TO FILE UNDER SEAL
19
                  v.                         )   DECLARATION OF STEPHEN
20                                           )   ANTKOWIAK
     WILLIAM P. BARR, Attorney               )
21
     General of the United States; et al.,   )   Hearing Date: Not Set
22                                           )   Time:
             Defendants.                     )   Dept:
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                                             )
24                                           )
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                                             )
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           Defendants submit this Application seeking leave from the Court to file under
 2   seal portions of the Declaration of Stephen Antkowiak, filed concurrently herewith,
 3   pursuant to Federal Rule of Civil Procedure 5.2(d) and Local Rule 79-5. As required
 4   by Local Rule 79-5.2.2(a), Defendants submit concurrently with this application the
 5   declaration of Sarah B. Fabian, a proposed order, and an unredacted copy of the
 6   Declaration. On May 25, 2020, counsel for Defendants contacted counsel for
 7   Plaintiffs, Peter Schey, by email regarding Defendants’ proposed filing, but did not
 8   receive any response in advance of this filing.
 9         The document that Defendants seek to seal is:
10             • Declaration of Stephen Antkowiak (portions)
11   Defendants seek to seal this document because it contains sensitive information
12   about a minor in Defendants’ custody, the disclosure of which would violate his
13   individual privacy rights. Given the potentially sensitive nature of the information
14   in these sections of the declaration, there is compelling reason to file them under seal
15   in order to protect the privacy of the individual identified therein, and to avoid stigma
16   or embarrassment to him.
17                                       ARGUMENT
18         “[T]he courts of this country recognize a general right to inspect and copy
19   public records and documents, including judicial records and documents.” Nixon v.
20   Warner Communications, Inc., 435 U.S. 589, 597 & n.7 (1978); see also Foltz v.
21   State Farm Mutual Auto Insurance Comp., 331 F.3d 1124, 1134 (9th Cir.2003).

22   Accordingly, the default rule is that “[a] party seeking to seal a judicial record . . .

23   bears the burden of overcoming this strong presumption [in favor of access to court

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     records] by meeting the ‘compelling reasons’ standard.” Kamakana v. City & Cty.

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     Of Honolulu, 447 F.3d 1172, 1176 (9th Cir. 2006). Compelling reasons support

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     sealing these portions of the Declaration of Stephen Antkowiak because they contain

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     personal information regarding a class member. Courts have recognized individuals’
 2   interest in the protection of such information. See Doe v. Beard, 63 F. Supp. 3d 1159,
 3   1166 n.4 (C.D. Cal. 2014) (collecting cases). Therefore, there is compelling reason
 4   to seal these portions of the declaration to protect the privacy interests of the class
 5   member discussed therein.
 6   DATED:       May 25, 2020               Respectfully submitted,
 7
                                             JOSEPH H. HUNT
 8                                           Assistant Attorney General
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                                             Civil Division

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                                             Director, District Court Section
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                                             /s/ Sarah B. Fabian
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 1                             CERTIFICATE OF SERVICE
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           I hereby certify that on May 25, 2020, I served the foregoing pleading on all

 4   counsel of record by means of the District Clerk’s CM/ECF electronic filing
 5
     system. Documents associated with this filing that are proposed to be filed under
 6
     seal will further be served on Plaintiffs’ counsel of record by other means.
 7

 8

 9
                                                   /s/ Sarah B. Fabian
                                                   SARAH B. FABIAN
10                                                 U.S. Department of Justice
11
                                                   District Court Section
                                                   Office of Immigration Litigation
12
                                                   Attorney for Defendants
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